Case
  20-01092-shl
     1:20-cv-22009-MGC
                 Doc 11 Document
                        Filed 04/28/21
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         2. The Clerk of Court is directed to TRANSFER this case to the United States District

             Court for the Southern District of Florida, pursuant to 28 U.S.C. § 157(b), 28 U.S.C.

             § 1412, and Bankruptcy Rule 7087, with a recommendation that the District Court for

             the Southern District of Florida REMAND the case to the Circuit Court of the 11th

             Judicial Circuit in and for Miami-Dade County, Florida, pursuant to 28 U.S.C. §

             1452(b); and

          3. This Court shall retain jurisdiction solely to interpret and enforce this Order.

    Dated: April 12, 2021

    WINSTON & STRAWN LLP                                SOLOMON & CRAMER LLP
    Attorneys for Defendant EisnerAmper LLP             Attorneys for Plaintiffs


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                                                        So Ordered this 28th day of April 2021

                                                        /s/ Sean H. Lane
                                                        United States Bankruptcy Judge




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